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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS



ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                           Civil Action No. 1:22-cv-07119

        Plaintiff,                                   Judge: Hon. Franklin U. Valderrama

v.                                                   Magistrate Judge: Hon. Jeffrey Cummings

PDD HOLDINGS INC., a Cayman Islands                  JURY TRIAL DEMANDED
corporation, and WHALECO, INC., a Delaware
corporation, and DOES 1-60,

        Defendants.

      PLAINTIFF ROADGET BUSINESS PTE. LTD.’S OPPOSED MOTION FOR A
                    TEMPORARY RESTRAINING ORDER

       Plaintiff Roadget Business Pte. Ltd. (“Roadget”) files this Motion For A Temporary

Restraining Order to respectfully request immediate injunctive relief to stop and enjoin Defendants

PDD Holdings Inc. and WhaleCo, Inc., (together, “Defendants” or “Temu”) from ongoing and

extensive infringements of Roadget’s U.S. registered trademarks and copyrighted works, as

detailed in the recently filed Second Amended Complaint (“SAC”) and in the accompanying

Memorandum of Law in Support of Plaintiff’s Motion For A Temporary Restraining Order. In

support of this Motion, Roadget states as follows:

       1.       Plaintiff owns numerous U.S. trademark and copyright registrations associated with

“Shein,” one of the most popular online fashion and lifestyle retailers in the world. The registered

trademarks (“SHEIN Marks”) include the mark SHEIN and affiliate brands SHEIN CURVE,

ROMWE, DAZY, EMERY ROSE, SHEGLAM, and LUVLETTE, to promote the sale of trendy

apparel and goods offered to the U.S. market through the Shein website (https://us.shein.com) and



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mobile app (collectively, the “SHEIN Website”).

       2.      Defendants own and operate Temu, an online store and mobile app (collectively,

the “Temu Website”) that launched in the U.S. in 2022 and that Defendants hold out as an online

marketplace that sells inexpensive clothing and household goods. Unlike traditional marketplaces,

Temu closely manages and curates product listings on the Temu Website.

       3.      Temu product listings reflect rampant, wholesale copying of product images and

designs from the SHEIN Website. Roadget and its licensee have sent DMCA takedown notices for

thousands of infringing listings to Temu. As alleged in the operative complaint, over 270 of

Roadget’s copyrighted works were infringed by listings on Temu – and new infringing listings

continue to be discovered.1 Further investigation has also revealed that Temu unduly delayed

removing certain infringing listings, while others continued to remain active on the Temu Website

(at least as of June 2023) notwithstanding that the listings were identified in DMCA notices sent

months ago (and as early as November 2022).

       4.      Moreover, Defendants have not stopped infringing the SHEIN Marks – even in

instances where they filed a sworn declaration stating otherwise. In particular, Temu continues to

display unauthorized SHEIN Marks in webpage titles falsely advertising that consumers can “Buy

Shein” products “On Temu,” contrary to Defendants’ declarant representing (under oath) that this

practice ceased when it in fact did not. Additional new and ongoing violations include Temu’s use

of additional counterfeit marks on (i) clothing designs (SAC ¶¶ 192-97); (ii) product labels used

in images for listings that do not sell genuine SHEIN-branded apparel (id. ¶¶ 136-40); (iii)

webpage titles falsely advertising that “Shein” and affiliate-branded products can be purchased


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  Indeed, on June 30, 2023, counsel for Roadget informed counsel for Defendants that after the Second
Amended Complaint was lodged with the Court on June 9, 2023, Plaintiff discovered additional photos and
products on the Temu Website that infringe its copyrighted photos and designs, as shown in about 250
distinct product listings on the SHEIN Website.

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“On Temu” (id. ¶¶ 163-74); (iv) a counterfeit storefront called SHINE that uses an intentional

misspelling and a well-known, widely-used phonetic mispronunciation of the SHEIN Mark, and

displays product images copied from the SHEIN Website (id. ¶¶ 215-20); and (v) in Temu-

generated search term recommendations (id. ¶¶ 175-91).

       5.      Temu’s blatant conduct underscores that an immediate injunction is warranted.

This is especially so given that Plaintiff’s prior request for relief based on evidence establishing

Temu’s use of counterfeit SHEIN marks in deceptive ads (submitted in support of the pending

motion for preliminary injunction, Dkt. 23), as well as other infringing uses (including the

fraudulent Twitter accounts and sponsored ads, and the counterfeit SHEIN watermark, see

generally Dkts. 24, 38, 53-1 and 60), has not deterred Defendants from continuing, and somehow

finding new ways, to deliberately misappropriate and exploit the goodwill associated with the

SHEIN Marks, in order to divert consumers away from the SHEIN Website and deceive them into

visiting the TEMU Website where numerous product listings display identical or substantially

similar product images and/or designs copied from Shein.

       6.      Immediate injunctive relief is necessary because Temu continues to engage in

infringing conduct by using counterfeit versions of several of the SHEIN Marks to advertise goods

sold on the Temu Website, while failing to expeditiously remove infringing listings despite having

knowledge of specific copyright violations. Even in instances where unauthorized listings were

taken down, the same infringing work(s) reappeared in other product listings (including by the

same initial seller) that the Temu Website actively promotes or recommends to consumers. These

violations have caused irreparable harm to Plaintiff which cannot effectively enforce its IP rights

against Temu because Temu’s sellers are incentivized to outcompete Shein by offering cheaper

versions of products copied from the SHEIN Website. Moreover, widespread use of counterfeit



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SHEIN Marks on Temu have likely caused confusion among consumers who are explicitly misled

to believe that SHEIN-branded products are sold on Temu. Without immediate relief, Temu will

continue to unfairly exploit the goodwill associated with Plaintiff’s copyrighted works and

trademarks, and dilute the brands.

        7.         As set forth in Plaintiff’s accompanying Memorandum of Law in support of its

Motion for a Temporary Restraining Order and the supporting Declarations of George Chiao, Tim

Wei, and Nina D. Boyajian, Plaintiff has established (1) a substantial likelihood of success on the

merits; (2) a substantial threat of irreparable harm; (3) that the threatened harm to Roadget

outweighs the threatened injury to Defendants; and (4) that granting injunctive relief is in the

public interest.

        8.         Defendants oppose this Motion.

        WHEREFORE, for the reasons above, and as set forth in more detail in Plaintiff’s

Memorandum and Declarations, Plaintiff respectfully requests that Court enter an Order in the

form set forth in Plaintiff’s concurrently filed (Proposed) Temporary Restraining Order.



Dated: July 7, 2023                            ROADGET BUSINESS PTE. LTD.


                                         By: /s/ Nina D. Boyajian
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, which will send notification of
such filings to all counsel of record.


Dated: July 7, 2023                           /s/ Nina D. Boyajian




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